 11.    ,.   lVV~.,~~:..~.c"'OFO~;,~\..:.
                                       •..un~\'\1II~J~,~AGEt1ENT AND BUDGET ACTION       nv. LCf
     Case 4:09-cr-00043-SPF Document 54-7 Filed in USDC ND/OK on 05/15/09 Page 1 of 5

     Lois K. Holland                                                               10/03/2001
                                                                                                    ,
     IT Policy Ind Management Office
     Depart.ent gf the Treasury
     1425 New Yo~k Avenue NW.
     Room 2110
     Washinston, DC  2D2ZG

     In accordlnce with the Paperwork Reduction Act, OMB has
     taken the following action on your request for approval of
     a revisiDn of 8n informat10n collection received on 08/2D/2001.

     TITLE;         US Individual        Inca •• Tax Return

     A;ENCY       FORM NUMBERCS):        l040,SCHA,SCHB,SCHC,SCHC-EZ,SCHD,
                                         SCHD-l,SCHE,~IC,SCHF

     ACTION       : Approved
     OMI NO.: 1545~0074
     EXPIRATION DATE: 10/31/2004

     JURDEN                       RESPONSES           BURDEN HOURS              BURDEN   COSTS
        Previous               27,,~9S,973           1,393,882,1'3                              o
        New                    402,91&,352           1,455,489,837                              o
        Difference             126,421,379                     61,601,074                       D
              Program   Change                                 19,011,704                       o
              Adju.stllent                                     42,595,310                       o

     TERMS OF CLEARANCE:
        This approval covers             the amendMent,dated                9/27/01,   to the
             o~19inal submission. Tho agency is not required to.display
             the expiration      date.




     NOTE;      The agenoy 1s required to d1sPlav the OMS control
                numbe~ and inform respondents of its legal
                significance


     OMI Authorizing
                             (see 5 CFR 1320.5(b».


                              9fficlal       iitle·
                                                                  -
     Donald      R. Arbuokle                 Deputy AdmInistrator.  Office of
                                             InforMation and Regulatory Affalr~
 ----                                         4>__   ,_,   r                                    _

     Sent .lectro~ioally,           lO/Oa/2001         15104:59



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  uf\l¥.    ,. LVV'     I V. 1'tf1m    \!LI\I\I    Ur:'I~':.I~~.L.:\ORKACTION   SUMMARY                      ~~ ueT   2001
JMS Case 4:09-cr-00043-SPF
     NUM8ER:  1545-007~    Document 54-7 Filed in USDC ND/OK on 05/15/09                                    Page 2 of 51
                                                                                                               PAGE
EXP DATE    : 3 Yrs
TITLE       : US Individual Income Tax Return
                                                                                                                      "


ACTION        TAKEN:        Approved

---~-~-~·_~·_--~··-·.~--.--".~                                .._..             .w_.~.._._.•~__~_..••_.~._.~ ••.__.~.
CHANG~$ FROM AGENCY SUBMISSION:

EXPIRATION             DATE.      NO CHANGE

aURDE'N HOURS                                                          BURDEN     COSTS

Responses                                         402,915,352          NO CHANGE                  •
Burden       Hours                         l,4S5,489,837
Hours       D1ff                                  .61,607,074'
  HI'S      pgm       chg                           19,011,704
.~-~P._-P .. --~ .. -- .. --"._-~ .. -._"._-- .. -- .. _~--- .. _-- .. ~                              ~            ~ __~. __

NEW TERMS ~F CLEARANCE:
    This approval covers                          the amendmont/dated 9/27/01, to the
    original submission.                           The agency is not required to display                  the'
    expiration date.

NOTES:




SIGNATURES            AND DATES:                          DESK OFFICER



                                                          DATE:                           DATE:




       '"
OM~V",;'u,':~~~V.ft
              I ~~~1~1~'OD1Civ ~Iln'             KECEIY~U: uo,~~,,~::-"
REVIEW TVPEt    R.oul.~                          DUE DATE:
   Case 4:09-cr-00043-SPF Document 54-7 Filed in USDC      10/19/2001
                                                       ND/OK on 05/15/09 Page 3 of 5
I,e. TYPE              ; Revision                                             DESk" OFFICER;       Alex     Hunt
                                                                                                                                          ••

~GENCY                       Depa~t.ent of the Treasu~y
SUBA&ENCY                    Internal       Revenue        Service


TITLE:         US Individual               Income    Tax Return

AGENCY         FOR~ NUMBER(S);               l040,SCHA,SCHB,SCHC,SCHC~EZ,SCHD,SCHD~1,SCHE
                                             EIC,SCHF

KEYWORDS:             PERSONAL INCOME            TAXES
                      TAX RETURN

~JSTRACT;         Form 1040 and schedules are used by individuals to report their
                  income tax liability.  Th~ data is used to verify that the
                  items reported on the forms are correct, and also for general
                  statistical use.

OBLIGArION            TO     RESP:    P Mandatory                                          SMALL ENTITI~S: No
                                                                                           STATISTICAL            METHODS:           No

~FF PUB: P Individuals                      or households                          PURPOSE:       P Reg or COMpliance

~EQUIREMENTS:                Recordkeeping
                             Reportlng frequency:
                                   AnnuallY


P- •••••••••          ~_.P    •••••   ~W       ~._   •••   _.M    ••   ~._~         ~ ••••••     _ •••             ~~R   ••   ~_~.

                                                                        CURRENT     RECORD                         REQUEST
~XPIRATION            DATE:                                                   09/30/2001                            S Yr-s

~NNUAL         HOUR    BURDEN:
 ,Number of respondents                                                        11,877,4'4                  71,097,253
  Total annual responses                                                      276,495,97!                 401,291,552
  % Collected electronically                                                               , ~                                    50 x
  Burden  Hours                                                         1,393,882,7f3          . " 1,454,784,018
  Difference                                                                                          '0,'01,278
  Explanation of Differ~nce
  1. PrograM Change                                                                                         18,305,905
  2. Ad~ustment                                                                                             42,~95,370
~h __ ~_._ ••• W ••. _~P~." ••••••.                          ..           ._ ..• __ .. __ ~p_~           ._ ••   _._.h~_._._

                                                                        CURRENT     RECORD                         REQUEST
'NNUAL COST BURDEN:
  Capital/Startup   Costs                                                                  o                                  o
  Annual Costs (O&M)                                                                       o                                  o
  Total Annualized Cost                                                                    o                                  o
  Difference                                                                                                                  o
  Expllnation   of difference
  1. Program change                                                                                                           o
  Z. Adj..,,,tment                                                                                                            o
.--"W_.           wP_..··                     ~~P.~._.•_..·.·.~··_~P.P~-~~_.••_.••••••••• ~...
•AST~AcTrONI               Correction                                               LAST ACTION           DATE:     09/27/2000

   ·5TIN.        TERMS        OF   CLEARANCE:         NONE
                                 PAPERWORK
                Case 4:09-cr-00043-SPF       REDUCTION
                                       Document               ACT SUBMISS
                                                54-7 Filed in USDC ND/OK on "..
                                                                             05/15/09 Page 4 of 5
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 9, Keywords                    'personal laeome lues, tAXrenarn'.                                                                                                                            ,
 10, Abltrlct Form 1040 and Itbtdule. are uecl by badividuall to report their hleome tax liabiliQ. The data ia llied to VIrlfy
 that the items repOI1echJlthe forms are eom:d, aad • tm' I_eral -.tistieil De.

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  Case 4:09-cr-00043-SPF
  19. Certification           Document
                    for Paperwork      54-7 Filed
                                  Reduction       in USDC ND/OK on 05/15/09 Page 5 of 5
                                            Act Submissions
    On behalf of this Federal arency, I certify that the coUea:ion of information                                enmmpl58ed        by thSB request complies            I
   with!       en 1310.9.                                                                                                                                                  tor




   NOtE:         The text of 5 CFR 1320.t, and the related protislons of 5 C.FR 132t.8(1J)(3), appear at the end rI the
                  ba8tructiort5. The C8rri/lctllitm. " to be rruulewith n!,f'lIICt. 10 tho" regulfllory pmisio1U III 8tftforth fII
                 du lll8l1'UCttolU.

   The followtne is a summary of the topies, reg ••..din. the proposed coDectioa of information, that the certJ6cat1on
   tOl'ers:


           (a) It is ~ary                for the proper perfornumee of aaenq fDDC:tiOlllij
           (b) It a\'bids unneteS8lU'Y dapJicaticm;
                  ..
           (c) It reduces           bllrden    OIl maaII entltSesj

           (d) U uses plain, coherent, and unambilUOus tennlnoloar                                 that is undentandable        to respondellt8;

           (e) Its haplomeatation               will be 'COnsistent and compatible with c:urreut re~                       and recordkeepin,          praetice5j
           (f) It indicates the ret!ll1tktn periods for recordlceepitsa                         requirements;

          (g) It informs respondents of the Information called for UDder 5 CD                                   132D.8(b)(3):

                        (t)          Why the Wormation                    is being collected;

                        (Il)          Use of informatlon;

                        CUi)          BW'den estimate;

                        0')           Nature of response ("oluntary, required for a bcaeftt, or hIlUIdatory);

                        (v)           Nature     and extent 0' conftdentiaDtyj and
                        (vi) Need to displ~ curreatJy valid OMB control Dumber.
          (h) It was de'feloped by an office that has planoed and aIIoclIted resources for the efftcient and effeettve
              IIIIlDqement and U8t! of the Information to be coJlec;ted (lee note an Item 19 of the ~)i            .

          0) It uses effective and efficlent statistteal su",ey methodology; and

          0) It makes appropriate               use of information tecbnoJ0aY.

   If you are unable to c:ertify compliance with any of thete provlsiOfl5, ldentlty the item ~ow                                     and explain the l'OB50D
   ill Item 18 of the SupportiDg  Statement •.




  Signature or Pt'O@I'IBl or&cfaI
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